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               IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:94CR73
                              )
          v.                  )
                              )
LARRY JONES,                  )               MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s “motion

for reduction of sentence under 18 U.S.C. § 3582(c)(2)” (Filing

No. 144).   On July 20, 1994, an indictment was returned by the

grand jury in Nebraska, charging the defendant with one count of

possession of crack cocaine with intent to distribute.                  The

defendant entered a plea of not guilty, and on April 3, 1995, his

trial before a jury commenced in this Court.

            On April 6, 1995, the case was submitted to a jury, and

a verdict was returned on April 7, 1995, finding the defendant

guilty of the crime charged in Count I of the indictment (See

Filing No. 58).       On November 17, 1995, the defendant was

sentenced to a term of 360 months in prison, followed by ten (10)

years of supervised release, and a special assessment (Filing No.

89).

            The defendant subsequently filed a notice of appeal to

the United States Court of Appeals, which affirmed the conviction

and sentence of the defendant by an opinion filed on October 15,

1996 (Filing No. 110).       On October 27, 1997, the defendant filed

a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside or
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correct his sentence (Filing No. 118).           On March 11, 1998, this

Court filed an opinion (Filing No. 123), which denied defendant’s

§ 2255 motion.   On November 4, 1999, the defendant filed a motion

for new trial pursuant to Fed.R.Crim.P. 33 (Filing No. 129), and

on December 2, 1999, this Court entered an order (Filing No. 131)

denying defendant’s motion for new trial.

            On September 28, 2001, defendant filed a second § 2255

motion (Filing No. 138), which was denied on October 10, 2001

(Filing Nos. 139 and 140).        The present motion was filed on June

20, 2005.   Title 18, United States Code, § 3582(c) provides:

                 The Court may not modify a term of
                 imprisonment once it has been
                 imposed except that –-

                    2) in the case of a defendant
                 who has been sentenced to a term of
                 imprisonment based on the
                 sentencing range that has
                 subsequently been lowered by the
                 Sentencing Commission pursuant to
                 28 U.S.C. § 994(o), upon motion of
                 the defendant . . . the Court may
                 reduce the term of imprisonment
                 after considering the factors set
                 forth in section 3553(a) to the
                 extent they are applicable, if such
                 a reduction is consistent with
                 applicable policy statements issued
                 by the Sentencing Commission.

            The defendant’s motion is premised on the impact of the

decision of the United States Supreme Court in United States v.

Booker, 534 U.S. ___, 125 S.Ct. 738 (2005), in which the Supreme

Court found that the mandatory provisions of 18 U.S.C. § 3553(b)

requiring that a sentence be imposed within the guideline range

were unconstitutional.     The Sentencing Commission has not


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modified or changed the sentencing range that was applicable to

the defendant under the guidelines, and the defendant’s reliance

on United States v. Booker, supra, with respect to the

application of the above provisions of 18 U.S.C. § 3582 is

misplaced.

          The Court finds defendant’s claims are without merit,

and his motion will be denied.       A separate order will be entered

in accordance with this memorandum opinion.

          DATED this 12th day of August, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court




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